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                             UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA


ANDREW WILKINS individually, and on           )
behalf of all other similarly situated        ) Case No: 2:23-cv-05049-KBH
consumers,                                    )
                                              )
                                              )
              Plaintiff,                      ) STIPULATION OF DISMISSAL
       vs.                                    )
                                              )
G-STAR RAW ESTORE, INC.                       )

              Defendant.


       It is hereby stipulated and agreed by and between counsel for Plaintiff, Andrew Wilkins,

and Defendant, G-STAR RAW ESTORE, INC., that the above-entitled action is hereby dismissed

against Defendant, G-STAR RAW ESTORE, INC., with prejudice and with each party to bear its

own attorneys’ fees and costs.



Dated: May 13th, 2024

Respectfully submitted,


 /s/ Jacob Oslick                            /s/ Daniel Zemel
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                                              APPROVED:

                                              /s/ Hon. Kelley B. Hodge

                                              Dated: May 15, 2024
